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                                                           Exhibit A
                                                                                                                       Tiki Brown
                   IN THE STATE COURT OF CLAYTON COUNTY, GEORGIA                                              Clerk of State Court
                                                                                                         Clayton County, Georgia
                    9151 TARA BOULEVARD, ROOM 1CL181, JONESBORO, GEORGIA 30236                                     Latasha Currie
                           TELEPHONE: (770) 477-3388 * FACSIMILE: (770) 472-8159
             ______________________________________________________________________________

             ERIC ROBINSON
             __________________________________

             __________________________________

             __________________________________
                                     Plaintiff
                                                                                   2022CV00025
             Vs.                                                                 ___________________
                                                                                 Case Number
             XPO LOGISTICS FREIGHT, INC., XPO LOGISTICS,
             __________________________________
             INC., XPO LOGISTICS DRAYAGE, LLC., XPO
             __________________________________
             LOGISTICS, LLC., VINCENT M. BOOKER, AND
             SAFECO INS. CO. OF AMERICA
             __________________________________
                                     Defendant

                                                           SUMMONS
             TO THE ABOVE NAMED DEFENDANT(S):
             You are hereby summoned and required to file with the Clerk of said Court and serve upon
             Plaintiff’s Attorney, whose name and address is:
             CLYDE E. RICKARD, ESQ.
             THE LAW OFFICE OF RICKARD, DREW & NIX
             229 PEACHTREE ST NE, STE 2420
             ATLANTA, GA 30303




             answer to the complaint which is herewith served upon you, within 30 days after service of this
             summons upon you, exclusive of the day of service. If you fail to do so, Judgment by default will
             be taken against you for the relief demanded in the complaint.

                                                                  TIKI BROWN
                                                                  CLERK OF COURT
                                                                  State Court of Clayton County


                      Latasha Currie
             By:___________________________________
             Deputy Clerk


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                                                                                                                Tiki Brown
                                                                                                       Clerk of State Court
                                    IN THE STATE COURT OF CLAYTON COUNTY                          Clayton County, Georgia
                                                                                                            Latasha Currie

                                               STATE OF GEORGIA

             ERIC ROBINSON,                           )
                                                      )
                            Plaintiff,                )
                                                      )
             v.                                       )        CIVIL ACTION
                                                      )                       2022CV00025
                                                      )        FILE NO. ______________________
             XPO LOGISTICS FREIGHT, INC.,             )
             XPO LOGISTICS, INC.,                     )
             XPO LOGISTICS DRAYAGE, LLC. ,            )
             XPO LOGISTICS, LLC.,                     )
             VINCENT M. BOOKER, and                   )
             SAFECO INS. CO. OF AMERICA,              )
                                                      )
                            Defendants.               )
                                                      )

                                                COMPLAINT

                    COMES NOW Plaintiff herein and files this Complaint for money damages as

             follows:

                                                          1.

                    Defendant XPO Logistics Freight, Inc., is a foreign corporation, qualified to do

             business in the State of Georgia, whose registered agent, Registered Agent Solutions, Inc.,

             has been served with process at 900 Old Roswell Lake Pkwy, Suite 310, Roswell, Georgia

             30076. Defendant XPO Logistics Freight, Inc. is therefore subject to the jurisdiction and

             venue of this Court.

                                                          2.

                    Defendant XPO Logistics, Inc. is a foreign corporation whose registered agent,

             Registered Agent Solutions, Inc. has been served with process at 838 Walker Road, Suite

             21-2, Dover, Delaware, 19904 and is therefore subject to the jurisdiction and venue of

             this Court.




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                                                           3.

                      Defendant XPO Logistics Drayage, LLC., is a foreign corporation, qualified to do

             business in the State of Georgia, whose registered agent, Registered Agent Solutions, Inc.,

             has been served with process at 900 Old Roswell Lake Pkwy, Suite 310, Roswell, Georgia

             30076. Defendant XPO Logistics Drayage, LLC. is therefore subject to the jurisdiction

             and venue of this Court.

                                                           4.

                      Defendant XPO Logistics, LLC., is a foreign corporation, qualified to do business in

             the State of Georgia, whose registered agent, Registered Agent Solutions, Inc., has been

             served with process at 900 Old Roswell Lake Pkwy, Suite 310, Roswell, Georgia 30076.

             Defendant XPO Logistics, LLC. is therefore subject to the jurisdiction and venue of this

             Court.

                                                           5.

                      Defendant Vincent Booker resided in Dekalb County, Georgia at the time of the

             incident complained of and now resides in Florida. Defendant Booker is subject to the

             jurisdiction and venue of this Court, having been personally served with a copy of the

             Complaint with discovery and summons attached at his residence at 12463 Stone Bark

             Trail, Orlando, FL 32824.

                                                           6.

                      Defendant SAFECO Insurance Company of America issued a policy of liability

             insurance to Defendants which policy was in full force and effect on the date of the

             occurrence complained of herein and which covered the occurrence complained of

             herein and as such may be properly joined in this action pursuant to O.C.G.A. § 40-1-

             112(c), O.C.G.A. § 40-2-140(d)(4), and other applicable law.

             .




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                                                        7.

                    Defendant SAFECO Insurance Company of America is subject to the jurisdiction

             and venue of this Court pursuant to OCGA §46-7-12.

                                                        8.

                    On or about December 30, 2019, on a private roadway known at 4000 Corporate

             Parkway, Forest Park, GA 30297, Plaintiff Eric Robinson was operating his tractor trailer

             in a safe and prudent manner.

                                                        9.

                    On or about said date, the vehicle in which the Plaintiff was driving was impacted

             by a tractor-trailer being driven by Defendant Booker and owned by Defendant XPO

             Logistics Freight, Inc.

                                                       10.

                    On or about said date, the vehicle in which the Plaintiff was driving was impacted

             by a tractor-trailer being driven by Defendant Booker and owned by Defendant XPO

             Logistics, Inc.

                                                       11.

                    On or about said date, the vehicle in which the Plaintiff was driving was impacted

             by a tractor-trailer being driven by Defendant Booker and owned by XPO Logistics

             Drayage, LLC.

                                                       12.

                    On or about said date, the vehicle in which the Plaintiff was driving was impacted

             by a tractor-trailer being driven by Defendant Booker and owned by Defendant XPO

             Logistics, LLC.




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                                                        13.

                    Defendant Booker was at all times material hereto an agent and employee of

             Defendant XPO Logistics Freight, Inc., and was acting in said capacity as an agent for and

             on behalf of said Defendant XPO Logistics Freight, Inc.



                                                        14.

                    By reason of the principal/agent relationship that existed between Defendant

             Booker and Defendant XPO Logistics Freight, Inc., at said time and place, any negligence

             on the part of Defendant Booker in the operation of said motor vehicle is imputed to

             Defendant XPO Logistics Freight, Inc.

                                                        15.

                    Defendant Booker was at all times material hereto an agent and employee of

             Defendant XPO Logistics, Inc., and was acting in said capacity as an agent for and on

             behalf of said Defendant XPO Logistics, Inc.

                                                        16.

                    By reason of the principal/agent relationship that existed between Defendant

             Booker and Defendant XPO Logistics, Inc., at said time and place, any negligence on the

             part of Defendant Booker in the operation of said motor vehicle is imputed to Defendant

             XPO Logistics, Inc.

                                                        17.

                    Defendant Booker was at all times material hereto an agent and employee of

             Defendant XPO Logistics Drayage, LLC., and was acting in said capacity as an agent for

             and on behalf of said Defendant XPO Logistics Drayage, LLC.




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                                                           18.

                    By reason of the principal/agent relationship that existed between Defendant

             Booker and Defendant XPO Logistics Drayage, LLC., at said time and place, any

             negligence on the part of Defendant Booker in the operation of said motor vehicle is

             imputed to Defendant XPO Logistics Drayage, LLC.

                                                           19.

                    Defendant Booker was at all times material hereto an agent and employee of

             Defendant XPO Logistics, LLC. and was acting in said capacity as an agent for and on

             behalf of said Defendant XPO Logistics, LLC.

                                                           20.

                    By reason of the principal/agent relationship that existed between Defendant

             Booker and Defendant XPO Logistics, LLC., at said time and place, any negligence on the

             part of Defendant Booker in the operation of said motor vehicle is imputed to Defendant

             XPO Logistics, LLC.

                                                           21.

                    Plaintiff shows that the aforesaid collision was proximately caused by negligence of

             Defendants and said acts of negligence of said individual include, but are not limited to,

             the following:

                    (a)       Immediately prior to the aforesaid collision, Defendant Booker misjudged

                              clearance;

                    (b)       Immediately prior to the aforesaid collision, Defendant Booker failed to take

                              evasive action;

                    (c)       Immediately prior to the aforesaid collision, Defendant Booker failed to

                              warn;




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                    (d)     Immediately prior to the aforesaid collision, Defendant Booker failed to keep

                            a proper look-out; and

                    (e)     Any and all acts of negligence which may be shown at trial due to

                            Defendants having      failed    to   exercise   ordinary   care   under   the

                            circumstances as required by O.C.G.A. § 51-1-2.

                                                            22.

                    As a direct result of said negligence on the part of said Defendants, Plaintiff

             incurred damages of medical expenses, lost wages, and extensive physical pain and

             mental anguish.

                                                            23.

                    All of the injuries to Plaintiff as stated herein are due to the negligence of the

             Defendants, and said negligence is the sole, direct, and proximate cause of injuries to the

             Plaintiff, unmixed with any negligence on the part of the Plaintiff or on the part of any

             other person. Plaintiff has needed medical treatment due to these injuries and will

             continue to need treatment in the future. A partial list of that treatment is as follows:

             Medicals
             1) Concentra Urgent Care                                          $ 2,865.83
             2) Sanaseri Chiro-Rehab Services                                  $ 5,890.00
             3) ImageLink                                                      $ 5,400.00
             4) Center for Pain Management                                     $ 11,186.00
             5) Pavilion Spine Surgery Center                                  $ 33,555.00
             6) Recommended Future RFTC                                        $ 20,681.00

                                   TOTAL MEDICALS                              $ 79,577.83

                    Plaintiff also incurred lost wages as a direct result of his injuries in the amount

             of $34,188.00.




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                                               COUNT TWO
                                DIRECT ACTION SAFECO INS. CO. OF AMERICA

                                                         24.

                    Plaintiff realleges and incorporates by reference the foregoing portions of the

              Complaint as if set forth fully herein.

                                                         25.

                    Defendant SAFECO Insurance Company of America was the insurer of Defendants

             at the time of the accident and issued a policy of indemnity insurance to comply with the

             filing requirements under Georgia law.

                                                         26.

                    Defendant SAFECO Insurance Company of America is subject to the filing

             requirements outlined in O.C.G.A. § 40-2-140.

                                                         27.

                    Defendant SAFECO Insurance Company of America is subject to a direct action

             pursuant to O.C.G.A. § 40-2-140 and Defendant SAFECO Insurance Company of America

             is responsible for any judgment rendered against Defendants for injuries to Plaintiff.

             WHEREFORE, Plaintiff respectfully demands as follows:

                    (a)     Process issue and Defendants be served with process according to law;

                    (b)     That a judgment be entered for the Plaintiffs and against the Defendants for

                            special damages for past, present and future medical expenses, lost wages,

                            as may be shown by the evidence at the time of trial;

                    (c)     That a judgment be entered for the Plaintiffs and against the Defendants,

                            for general damages for her past, present and future pain and suffering in

                            an amount as may be determined by the enlightened conscience of the jury;

                    (d)     Plaintiffs have and be awarded a trial by jury; and




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                    (e)     Plaintiffs have such other and further relief as this court and jury may deem

                            just and proper under the premises and circumstances.


                                                 THE LAW OFFICE OF RICKARD, DREW & NIX


                                                 By:    /s/ Clyde Rickard_________
                                                        CLYDE E. RICKARD
                                                        State Bar No. 604625
                                                        JESSICA C. NIX
                                                        State Bar No. 940625
                                                        MICHAEL P. DRAKE
                                                        State Bar No. 257461
                                                        Attorneys for Plaintiff
             229 Peachtree Street, N.E.
             Suite 2420
             Atlanta, Georgia 30303
             (404) 588-1001




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